              4:19-bk-14302 Doc#:
 Fill in this information to identify the case:
                                                      Filed: 12/08/20 Entered: 12/08/20 08:33:24 Page 1 of 3
B 10 (Supplement 2) (12/11) Denise
              Scharlesta      (postBrockman
                                   publication draft)
 Debtor 1              __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          AR
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number             4:19-bk-14302
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                                 Arvest Bank
 Name of creditor: _______________________________________
                                                                                                                      1
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to                   7 ____
                                                              8 ____
                                                                 2 ____
                                                                     6
 identify the debtor’s account:                          ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 x      No
       Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
                                                                            09/2/2020, 12/08/2020                              300.00
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees
                                                                           09/03/2020
                                                                         _________________________________            (7)
                                                                                                                                20.00
                                                                                                                            $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1
                  Scharlesta Denise Brockman
             _______________________________________________________                                                  4:19-bk-14302
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

     I am the creditor.
  x
     I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            __________________________________________________
               /s/ Rickard W. Hood
                 Signature
                                                                                           Date
                                                                                                   12    08   2020
                                                                                                   ____/_____/________




                    Rickard W. Hood                                                                  Attorney for Arvest Bank
 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



                    Hood & Stacy, PA
 Company         _________________________________________________________



 Address            PO Box 271
                 _________________________________________________________
                 Number                 Street
                   Bentonville, AR 72712
                 ___________________________________________________
                 City                                               State       ZIP Code



                              551
                               3377
                   877 _____– _________                                                             hsamc@hoodandstacy.com
 Contact phone   (______)                                                                  Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                                   Certificate of Service

I, Rickard W. Hood, do hereby certify that a copy of the foregoing Notice of Post-
petition Mortgage Fees, Expenses, and Charges as required by Rule 3002.1 has been
served upon:

Matthew David Mentgen
The Law Office of Matthew Mentgen
PO Box 164437
Little Rock, AR 72216

Trustee
Joyce Bradley Babin
Chapter 13 Standing Trustee
P.O. Box 8064
Little Rock, AR 72203-8064

through the Electronic Case Filing System upon its filing as the Trustee and Attorney(s)
for the Debtor(s) are both registered users of the System, this 8th day of December, 2020;
and

then to the Debtor, by U.S. Mail first class postage pre-paid to:

Scharlesta Denise Brockman
20 Sunny Gap Rd
Conway, AR 72032

                                           /s/ Rickard W. Hood
                                          Rickard W. Hood, ABA# 81091
                                          HOOD & STACY, P.A.
                                          PO Box 271
                                          Bentonville, AR 72712
                                          Phone: 479-273-3377; Fax: 479-273-3419
                                          hsamc@hoodandstacy.com
